                    Case 1-22-42314-nhl                    Doc 48         Filed 01/08/23              Entered 01/09/23 00:09:30


                                                               United States Bankruptcy Court
                                                                Eastern District of New York
In re:                                                                                                                 Case No. 22-42314-nhl
The Muse Brooklyn, Inc                                                                                                 Chapter 11
       Debtor
                                                      CERTIFICATE OF NOTICE
District/off: 0207-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jan 06, 2023                                               Form ID: pdf000                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 08, 2023:
Recip ID                 Recipient Name and Address
db                    #+ The Muse Brooklyn, Inc, 350 Moffat Street, Brooklyn, NY 11237-6409
cr                     + Moffat Holding LLC, c/o Kucker Marino Winiarsky & Bittens, Attn: Joel Shafferman, 747 Third Avenue, 747 Third Avenue New York,
                         NY 10017-2874

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                        BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                       NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 08, 2023                                            Signature:           /s/Gustava Winters




                                      CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 6, 2023 at the address(es) listed
below:
Name                                  Email Address
Gerard R Luckman
                                      on behalf of Trustee Gerard R Luckman Esq. GLuckman@Forchellilaw.com,
                                      GLuckman@Forchellilaw.com;Bhufnagel@forchellilaw.com

Gerard R Luckman, Esq.
                                      gluckman@forchellilaw.com

Joel M Shafferman
                                      on behalf of Creditor Moffat Holding LLC shaffermanjoel@gmail.com

Office of the United States Trustee
                                      USTPRegion02.BR.ECF@usdoj.gov
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District/off: 0207-1                                    User: admin                                                      Page 2 of 2
Date Rcvd: Jan 06, 2023                                 Form ID: pdf000                                                 Total Noticed: 2
Ronald D Weiss
                          on behalf of Creditor Moffat Holding LLC weiss@ny-bankruptcy.com
                          R54991@notify.bestcase.com;michaelf@ny-bankruptcy.com;misty@ny-bankruptcy.com;sp@ny-bankruptcy.com;mdaniels@ny-b
                          ankruptcy.com;sarah@ny-bankruptcy.com

Ronald D Weiss
                          on behalf of Debtor The Muse Brooklyn Inc weiss@ny-bankruptcy.com,
                          R54991@notify.bestcase.com;michaelf@ny-bankruptcy.com;misty@ny-bankruptcy.com;sp@ny-bankruptcy.com;mdaniels@ny-b
                          ankruptcy.com;sarah@ny-bankruptcy.com


TOTAL: 6
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------X
In re:                                                          Chapter 11

THE MUSE BROOKLYN, INC.,                                        Case No. 1-22-42314-NHL


                                    Debtor.
------------------------------------------------------------X

ORDER APPROVING SETTLEMENT AGREEMENT AMONG THE DEBTOR AND
MOFFAT HOLDING, LLC PURSUANT TO RULE 9019 OF THE FEDERAL RULES OF
                          BANKRUPTCY

        Upon the Application of the Debtor, The Muse Brooklyn, Inc., by its attorneys, The Law

Office of Ronald D. Weiss, P.C., in support of the entry of an Order: (i) approving a Stipulation

between the Debtor and Moffat Holding LLC (the “Stipulation”) pursuant to Bankruptcy Rules

2002(a)(3) and 9019 and (ii) granting such other relief as to this Court is just and proper; and a

hearing having been duly held on the Zoom platform before the Honorable Nancy H. Lord, United

States Bankruptcy Judge, on December 27, 2022 to consider the Debtor’s Application; and the

Debtor, by its Counsel, The Law Office of Ronald D. Weiss, P.C., by Michael Farina, Esq., having

appeared; and The Office of The United States Trustee, by Nazar Khodorovsky, Esq., having

appeared; and Gerard Luckman, Esq. the Subchapter V Trustee having appeared; and notice of the

Debtor’s Application being deemed good and sufficient; and the Court having determined that

approval of the Stipulation meets the criteria set forth in Fed. R. Bankr. P. 9019 and applicable

case law; and it further appearing that the settlement embodied in the Agreement is fair and

equitable and in the best interest of the Debtor and its estate and creditors, it is hereby

        ORDERED, that the Stipulation between the Debtor and Moffat Holding LLC annexed to

the Debtor’s Application and to this Order as Exhibit “A” be and it hereby is approved in all

respects pursuant to Bankruptcy Rules 2002(a)(3) and 9019; and it is further
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       ORDERED, that the Debtor is hereby authorized to execute any and all documents

necessary to effectuate the Stipulation and Order between the Debtor and Moffat Holding LLC.




 Dated: January 6, 2023                                      ____________________________
        Brooklyn, New York                                         Nancy Hershey Lord
                                                              United States Bankruptcy Judge
